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                                   IN THE UNITED STATES BANKRUPTCY COURT                                    22-21334
                                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

In Re:                                                           :       Bankruptcy No.
         Altmeyer Home Stores, Inc.                              :
                                                                 :       Chapter 7
                                                                 :
                                                  Debtor         :
                                                                 :
         Altmeyer Home Stores, Inc.                              :
Movant                                                           :       Related to Document No. 1
                                                                 :
                                                                 :
                                                                 :
                             v.                                  :
                                                                 :
No Respondent                                                    :



                              NOTICE REGARDING FILING OF MAILING MATRIX

         In accordance with Local Bankruptcy Rule 1007-1(e) I,       Kathryn L. Harrison 209601   , counsel for the debtor(s)
in the above-captioned case, hereby certify that the following list of creditors’ names and addresses was uploaded through
the creditor maintenance option in CM/ECF to the above-captioned case.



                                              By: /s/ Kathryn L. Harrison
                                                   Signature
                                                  Kathryn L. Harrison 209601
                                                  Typed Name
                                                  310 Grant Street, Suite 1700
                                                  Pittsburgh, PA 15219
                                                  Address
                                                  412-261-0310 Fax:412-261-5066
                                                  Phone No.
                                                  209601 PA
                                                  List Bar I.D. and State of Admission




PAWB Local Form 29 (07/13)
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x
                                                                              22-21334
                        A L Ellis, Inc.
                        113 Griffin Street
                        Fall River, MA 02724




                        A-Line Greetings LLC
                        2050 International Way #E
                        Port Huron, MI 48060




                        Achim Importing Co., Inc.
                        1600 Livingston Avenue North
                        North Brunswick, NJ 08902




                        ACL/The Joint Venture LP
                        211 N. Stadium Blvd.
                        Ste. 201
                        Columbia, MO 65203




                        Adorable Pillows Mfg., Inc.
                        902 Essex Street
                        Brooklyn, NY 11208




                        ADP
                        99 Jefferson Road
                        Parsippany, NJ 07054
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                                                                          22-21334
                    American Express
                    P.O. Box 1270
                    Newark, NJ 07101




                    AT&T Mobility
                    P.O. Box 6463
                    Carol Stream, IL 60197




                    B&G Sales, Inc.
                    1750 N. 25th Avenue
                    Melrose Park, IL 60160




                    Beatrice Home Fashions, Inc.
                    151 Helen Street
                    P.O. Box 86
                    South Plainfield, NJ 07080




                    Bed Bath Fashions, Inc.
                    570 South Ave East
                    Ste. B-2
                    Cranford, NJ 07016




                    Better Home Plastics Corp.
                    439 Commercial Avenue
                    Palisades Park, NJ 07650
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                    Biddeford Blankets, LLC
                    13820 W. Business Center Drive
                    Lake Forest, IL 60045




                    Big Hairy Dog Tech Support
                    3205 Ramos Circle
                    Sacramento, CA 95827




                    Bookminders
                    Jane Ahlstrom, Senior Accountant
                    101 S. 10th Street
                    Pittsburgh, PA 15203




                    Briarwood Lane
                    18 Collings Avenue
                    West Berlin, NJ 08091




                    Broder Mfg., Inc.
                    P.O. Box 370182
                    Brooklyn, NY 11237




                    Butler Area Sewage Authority
                    100 Litman Road
                    Butler, PA 16001
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                    Butler Eagle
                    P.O. Box 271
                    Butler, PA 16003




                    Candle Warmers
                    12397 S. 300 E.
                    Suite 400
                    Draper, UT 84020




                    Carnation Home Fashions
                    P.O. Box 823
                    Milford, PA 18337




                    Carson Home Accents
                    189 Foreman Road
                    Freeport, PA 16229




                    Cayan, LLC
                    101 Arch Street
                    9th Floor
                    Boston, MA 02110




                    Century Link
                    P.O. Box 1319
                    Charlotte, NC 28201
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                                                                          22-21334
                    Century Square Realty Corp.
                    12 Grandview Circle
                    Canonsburg, PA 15317




                    CIT Commercial Services, Inc.
                    Lintex Linens, Inc.
                    P.O. Box 1036
                    Charlotte, NC 28201




                    CIT Commercial Services, Inc.
                    COBRA Trading
                    P.O. Box 1036
                    Charlotte, NC 28201




                    CIT Commercial Services, Inc.
                    Stylemaster
                    P.O. Box 1036
                    Charlotte, NC 28201




                    CIT Commercial Services, Inc.
                    KASSATEX
                    P.O. Box 1036
                    Charlotte, NC 28201




                    City of Uniontown Sewage System
                    Room 106
                    First Floor City Hall
                    20 N. Gallatin Avenue
                    Uniontown, PA 15401
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                                                                          22-21334
                    Columbia Gas
                    P.O. Box 70285
                    Philadelphia, PA 19176




                    Common Threads
                    Sharon Thompson - Seamstress
                    322 North Second Street
                    Apollo, PA 15613




                    Commonwealth Home Fashions
                    P.O. Box 10032
                    555 Patroon Creek Blvd.
                    Albany, NY 12206




                    Commonwealth Soap & Toiletries
                    537 Quequechan Street
                    Fall River, MA 02721




                    County Hauling
                    900 Tyrol Blvd.
                    Belle Vernon, PA 15012




                    Creatively Designed Products, Inc.
                    250 Creative Drive
                    Central Islip, NY 11722
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                                                                          22-21334
                    D-Bug Pest Control, Inc.
                    456 Frye Farm Road
                    Greensburg, PA 15601




                    Designer Greetings
                    P.O. Box 1477
                    Edison, NJ 08818




                    Detec-A-Crime Security Services
                    P.O. Box 11407
                    Pittsburgh, PA 15239




                    Diamond Visions, Inc.
                    401 W. Marquette Ave.
                    Oak Creek, WI 53154




                    Direct International, Inc.
                    1536 First Street
                    Newton Falls, OH 44444




                    Duquesne Light Co.
                    P.O. Box 371324
                    Pittsburgh, PA 15250
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                                                                          22-21334
                    Ed Frisbee
                    3409 William Street
                    New Castle, PA 16101




                    Empire Candle Co., LLC
                    P.O. Box 219864
                    Kansas City, MO 64121




                    FI Real Estate Capital Management LLC
                    9 S. Mill Street
                    Hopkinton, MA 01748




                    Franklin Twp. Municipal Sanitary Auth.
                    3001 Meadowbrook Road
                    Murrysville, PA 15668




                    Full Service Network
                    600 Grant St., 30th Floor
                    Pittsburgh, PA 15219




                    General Cleaning Johnstown
                    227 Franklin Street
                    P.O. Box 726
                    Johnstown, PA 15907
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                    Heritage Lace
                    309 South Street
                    Pella, IA 50219




                    Highland Sewer & Water Authority
                    12 Tank Drive
                    Johnstown, PA 15904




                    Highland Woodcrafters (Counter Art)
                    P.O. Box 1509
                    Ocala, FL 34478




                    Interdesign, Inc.
                    29424 Network Pl.
                    Chicago, IL 60673




                    IO Business Music
                    5025 W. Lemon Street
                    Suite 200
                    Tampa, FL 33609




                    Irvine Tinware
                    115 Cedar Lane
                    Mount Pleasant Mills, PA 17853
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                                                                          22-21334
                    J.J. Gumberg Co.
                    Brinton Executive Center
                    1051 Brinton Road
                    Pittsburgh, PA 15221-4599




                    Jarral, Inc.
                    205 Deep Springs Drive
                    Chittenango, NY 13037




                    John Camanici
                    2265 Tilbrook Road
                    Monroeville, PA 15146




                    John Ritzenthaler Co.
                    P.O. Box 821639
                    Philadelphia, PA 19182




                    Johnstown Shopping Center LLC
                    1851 W. Indiantown Road
                    Suite 101
                    Jupiter, FL 33458




                    K.C. Express Vending
                    121 Safari Drive
                    Jeannette, PA 15644
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                    Kay Dee Designs
                    P.O. Box 845171
                    Boston, MA 02284




                    Kenney Manufacturing Co.
                    1000 Jefferson Blvd.
                    Warwick, RI 02886




                    Klear-Vu Corporation
                    600 Airport Road
                    Fall River, MA 02720




                    Lafayette Interior Fashions
                    P.O. Box 1874
                    Warsaw, IN 46581




                    Laminet
                    4900 W. Bloomingdale Avenue
                    Chicago, IL 60639




                    Lodovico Window Cleaning, Inc.
                    P.O. Box 341
                    Murrysville, PA 15668
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                    Louis Plung & Company LLP
                    420 Ft. Duquense Boulevard
                    Suite 1900
                    Pittsburgh, PA 15222




                    Marc-Services, Inc.
                    135 5th Street, Suite 3
                    Windber, PA 15963




                    Marco International Inc.
                    P.O. Box 387
                    Alief, TX 77411




                    MAWC
                    PO Box 800
                    Greensburg, PA 15601




                    Mayrich Company
                    1010 Sesame Street
                    Chicago, IL 60639




                    Maytex Mills, Inc.
                    261 Fifth Avenue
                    Floor 17
                    New York, NY 10016
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                    Milberg Factors - Arlee
                    P.O. Box 730718
                    Dallas, TX 75373




                    Milberg Factors - Garland Carpet & Rug
                    P.O. Box 730718
                    Dallas, TX 75373




                    Milberg Factors - Lichtenburg
                    P.O. Box 730718
                    Dallas, TX 75373




                    Milestone Dev. Ltd. Partnership
                    6515 Route 22
                    Delmont, PA 15626




                    Mohawk Factoring, LLC
                    P.O. Box 935550
                    Atlanta, GA 31193




                    Municipal Authority of Westmoreland Cty.
                    PO Box 800
                    Greensburg, PA 15601
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                    Municpal Sanitary Authority
                    P.O. Box 666
                    New Kensington, PA 15068




                    National Fuel
                    P.O. Box 371835
                    Pittsburgh, PA 15250




                    NFCMA
                    1634 University Drive
                    P.O. Box 368
                    Dunbar, PA 15431




                    North Fayette County Municipal Authority
                    1634 University Drive
                    P.O. Box 368
                    Dunbar, PA 15431




                    Ontel Products Corporation
                    21 Law Drive
                    Fairfield, NJ 07004




                    PA American Water
                    P.O. Box 371412
                    Pittsburgh, PA 15250
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                                                                          22-21334
                    Paramount Sales Group, LLC
                    1333A North Avenue
                    #330
                    New Rochelle, NY 10804




                    Penelec
                    PO Box 3687
                    Akron, OH 44309-3687




                    Peoples
                    PO Box 644760
                    Pittsburgh, PA 15264




                    Peoples
                    P.O. Box 747105
                    Pittsburgh, PA 15274




                    Pittsburgh-Fayette Express
                    400 Main Street
                    Belle Vernon, PA 15012




                    PMF Trailer Rental, LLC
                    22068 Perry Highway
                    Zelienople, PA 16063
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                                                                          22-21334
                    Popular Bath Products, Inc.
                    808 Georgia Avenue
                    Brooklyn, NY 11207




                    Priority 1 Inc.
                    P.O. Box 840808
                    Dallas, TX 75284




                    Pro Disposal, Inc.
                    P.O. Box 364
                    Portage, PA 15946




                    Pro Gas
                    4700 Bocktown Road
                    Aliquippa, PA 15001




                    Ralph Friedland & Bros. Inc.
                    17 Industrial Drive
                    Keyport, NJ 07735




                    Regent Products Corp., LLC DIV
                    8999 Palmer Street
                    River Grove, IL 60171
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                    Reliance Packaging
                    2963 Route 66
                    Export, PA 15632




                    Republic Services
                    234 Landfill Road
                    Scottdale, PA 15683




                    Ricardo Trading
                    953 Islington Street
                    Suite 22
                    Portsmouth, NH 03801




                    Riviera Textile Corp.
                    295 5th Avenue
                    Suite 703
                    New York, NY 10016




                    Robert Altmeyer
                    3830 School Road
                    Murrysville, PA 15668




                    Rod Altmeyer
                    340 S. Palm Avenue
                    Unit 61
                    Sarasota, FL 34236
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                    Rosenthal & Rosenthal Inc. - Telebrands
                    P.O. Box 88926
                    Chicago, IL 60695




                    Safdie International, Inc.
                    8191 Chem. Montview
                    Mont-Royal QC, Canada
                    H4P 2P2




                    Sanders Services, LLC
                    186 Grange Road
                    Mc Clellandtown, PA 15458




                    Saturday Knight Ltd.
                    4330 Winton Road
                    Cincinnati, OH 45232




                    Shopper Approved
                    155 31st Street
                    Ogden, UT 84401




                    Sidecar Interactive, Inc.
                    P.O. Box 97235
                    Las Vegas, NV 89193
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                    Special T Imports, Inc,
                    P.O. Box 57
                    Woodland, CA 95776




                    Springs Window Fashions
                    P.O. Box 945792
                    Atlanta, GA 30394




                    Telecheck Services, Inc.
                    P.O. Box 6604
                    Hagerstown, MD 21741




                    The Naked Bee
                    4434 Sutherland Avenue
                    P.O. Box 11408
                    Knoxville, TN 37939




                    Trib Total Media
                    622 Cabin Hill Drive
                    Greensburg, PA 15601




                    Uline
                    P.O. Box 88741
                    Chicago, IL 60680
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                    Union Real Estate
                    One Oxford Centre
                    301 Grant Street, Suite 1250
                    Pittsburgh, PA 15219




                    Universal Commercial Services, Inc.
                    2294 N. Chamberlain Street
                    Terre Haute, IN 47805




                    Valassis Direct Mail, Inc.
                    90469 Collection Center Drive
                    Chicago, IL 60693




                    Value Tech
                    113 Seaboard Lane, A-200
                    Franklin, TN 37067




                    Vector Security
                    P.O. Box 89462
                    Cleveland, OH 44101-6462




                    Verizon
                    PO Box 15124
                    Albany, NY 12212-5124
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                    Versailles Home Fashions, Inc.
                    555 Ave Lee
                    Baie-d'Urfe, QC Canada
                    H9X 3S3




                    West Penn Power
                    P.O. Box 3687
                    Akron, OH 44306




                    Xerox Financial Services
                    P.O. Box 202882
                    Dallas, TX 75320




                    Zenith Home Corp.
                    P.O. Box 12468
                    Newark, NJ 07101




                    Robert L. Newman
                    c/o J.J. Gumberg Co.
                    Brinton Executive Center
                    1051 Brinton Road
                    Pittsburgh, PA 15221-4599
